Case 2:05-cr-20010-.]DB Document 49 Filed 07/25/05 Page 1 of 2 Page|D 49

 

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IN THE UNITED sTATES DISTRICT coURT ~» »»
FoR THE wESTERN DISTRICT oF TENNESSEE USJ

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UNITED STATES oF AMERICA, @\V,p@r OHS

Plainciff,
vs. No. 05-20010-B

ALBERT KIN LEE,

Defendant.

 

ORDER AMENDING RELEASE CONDITIONS

 

Upon motion of the defendant, consent of the United States,
and for good cause shown, it is hereby:

ORDERED, ADJUDGED AND DECREED that Albert Kin Lee Can both
have access to and the use of aa computer for the purpose of
reviewing discovery produced by the United States in this cause.

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Entered this 23 day of July, 2005.

dan

ANIEL BREEN,
ed States District Judge

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Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
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July 25, 2005 to the parties listed.

 

Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

Memphis7 TN 38103--111

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

